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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                               CHARLESTON DIVISION


B. P. J., et al.,
                            Plaintiffs,

v.                                              CIVIL ACTION NO. 2:21-cv-00316

WEST VIRGINIA STATE BOARD OF EDUCATION, et al.,

                            Defendants.



                                          ORDER

         Pending before the court is Plaintiff’s Motion for a Stay Pending Appeal. [ECF

No. 515]. The court DIRECTS Defendants to jointly respond to the motion by Friday,

January 27, 2023.

         The court DIRECTS the Clerk to send a copy of this Order to counsel of record

and any unrepresented party.

                                          ENTER:      January 23, 2023
